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 5                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7
           LINDA HIRT, an individual,
 8                                Plaintiff,
 9              v.
10         KAISER FOUNDATION HEALTH                        C19-2054 TSZ
           PLAN OF WASHINGTON, a
11         Washington Public Benefits                      ORDER
           Corporation, and MATRIX
12         ABSENCE MANAGEMENT, INC., a
           foreign corporation,
13
                                  Defendants.
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15         THIS MATTER comes before the Court on the parties’ Stipulated Motion to

16 Extend Case Deadlines re: Expert Discovery and Dispositive Motions, docket no. 28.

17 Pursuant to the Stipulation of counsel, IT IS SO ORDERED.

18         1.        The deadline to complete expert discovery related only to experts disclosed

19 as of this date is extended from to November 16, 2020, to January 25, 2021.
           2.        The deadline to file dispositive motions set for December 17, 2020, is
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     extended as follows: Dispositive motions must be filed by January 25, 2021, and noted
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     on the motion calendar no later than the fourth Friday thereafter pursuant to LCR 7(d).
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     ORDER - 1
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           3.       Remaining case deadlines currently set for January 25, 2021, or later are
 2 amended as follows:

 3
                                          Current Deadline             Amended Deadline
 4    Motions related to Expert                12/24/20                      02/01/21
      Witnesses
 5    Motions in Limine filing                 02/04/21                      03/15/21
      Agreed Pretrial Order                    02/04/21                      03/15/21
      Trial briefs, proposed voir              02/19/21                      03/30/21
 6    dire questions, jury
      instructions
 7    Pretrial conference                      02/26/21                04/09/21 at 1:30 p.m.

 8         4.       There will be no change to the May 17, 2021, trial date in this matter.

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10         Dated this 6th day of November, 2020.

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                                                       Thomas S. Zilly
13                                                     United States District Judge

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     ORDER - 2
